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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                   )
 WADE DREW BRAYMAN,                                )   Docket No. 1:20-cv-00169-JAW
               Plaintiff                           )
                                                   )
 v.                                                )
                                                   )
 RAYMOND PORTER, SEAN MAGUIRE,                     )
 and GARY CRAFTS,                                  )
                  Defendants                       )
                                                   )


      ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT SEAN MAGUIRE


        NOW COMES Sean Maguire, by and through undersigned counsel, and hereby responds

to the allegations contained in Plaintiff’s Complaint as follows:

                                  AFFIRMATIVE DEFENSES

        A. Plaintiff’s Complaint fails to state a cause of action upon which relief may be granted.

        B. Plaintiff has not suffered any compensable damages resulting from the claims alleged

in Plaintiff’s Complaint.

        C. Plaintiff’s damages, if any, were directly and proximately caused by the acts and/or

omissions of an individual and/or entity other than this Defendant.

        D.   Plaintiff’s damages, if any, were directly and proximately caused by a legally

sufficient superseding/intervening cause.

        E. Plaintiff has failed to mitigate his damages as required by law.

        F. This Defendant is entitled to qualified immunity.

        G. Plaintiff’s claims are barred by provisions of the Prison Litigation Reform Act,

including but not limited to 42 U.S.C. § 1997e(a) and/or 42 U.S.C. § 1997e(e).
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                                                      ANSWER

            1. Defendant Maguire denies each and every averment set forth in Plaintiff’s Complaint.1

            WHEREFORE, Defendant prays for judgment in his favor against Plaintiff, plus costs,

interest, and attorneys fees.


Dated: October 26, 2020                                            /s/ Peter T. Marchesi
                                                                 Peter T. Marchesi, Esq.


                                                                  /s/ Cassandra S. Shaffer
                                                                 Cassandra S. Shaffer, Esq.

                                                                 Wheeler & Arey, P.A.
                                                                 Attorneys for Defendant Maguire
                                                                 27 Temple Street
                                                                 Waterville, ME 04901




1
    In that Plaintiff’s Complaint does not contain numbered paragraphs, Defendant can only provide a general denial.
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                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                    )
 WADE DREW BRAYMAN,                                 )    Docket No. 1:20-cv-00169-JAW
               Plaintiff                            )
                                                    )
 v.                                                 )
                                                    )
 RAYMOND PORTER, SEAN MAGUIRE,                      )
 and GARY CRAFTS,                                   )
                  Defendants                        )
                                                    )


                                CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, hereby certify that:

       ●      Answer and Affirmative Defenses of Defendant Sean Maguire

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              None

       Copies of the above documents have been provided to the Plaintiff via United States
Mail, postage prepaid, at the following address:

              Wade Brayman
              Knox County Jail
              327 Park Street
              Rockland, ME 04841


Dated: October 26, 2020                                   /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Wheeler & Arey, P.A.
                                                        Attorneys for Defendant Maguire
                                                        27 Temple Street
                                                        Waterville, ME 04901
